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     David H. Krieger, Esq.
 1   Nevada Bar No. 9086
     HAINES & KRIEGER, LLC
 2
     8985 S. Eastern Avenue, Suite 350
 3
     Henderson, Nevada 89123
     Phone: (702) 880-5554
 4   FAX: (702) 385-5518
     Email: dkrieger@hainesandkrieger.com
 5
     Attorneys for Plaintiff
 6   ELIZABETH K. FERREIRA
 7                        IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEVADA
 8
     ELIZABETH K. FERREIRA,                     )   Case No. 2:17-cv-02361-JAD-NJK-
 9
                                                )
                         Plaintiff,             )
10
     v.                                         )
                                                    NOTICE OF DISMISSAL AS TO
                                                )
11                                                  DEFENDANT EQUIFAX
                                                )   INFORMATION SERVICES, LLC
     AURORA BANK, FSB; ENERGY FIRST
                                                )
12   CREDIT UNION; NUVISION FEDERAL             )
     CREDIT UNION; EQUIFAX                      )
13   INFORMATION SERVICES, LLC,                 )
                                                )
14                       Defendant.
                                                )
15
           Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Defendant EQUIFAX INFORMATION
16   SERVICES, LLC, not having filed or served an answer or a motion for summary judgment; the
17   Plaintiff in the above-entitled action, as to Defendant EQUIFAX INFORMATION SERVICES,
18   LLC, and only as to Defendant EQUIFAX INFORMATION SERVICES, LLC authorizes,
19   and directs the Clerk of the Court to enter a judgment of dismissal against Defendant

20   EQUIFAX INFORMATION SERVICES, LLC.

21         Dated:        January 23, 2018

22                                     Respectfully submitted,

23
                                       By:    /s/David H. Krieger, Esq.
                                              David H. Krieger, Esq. (Nevada Bar No. 9086)
24                                            HAINES & KRIEGER, LLC
                                              8985 S. Eastern Avenue, Suite 350
25                                            Henderson, Nevada 89123
                                              Attorney for Plaintiff

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